               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           STATESVILLE DIVISION
                     CRIMINAL DOCKET NO. 5:06cr22-23-V


UNITED STATES OF AMERICA        )
                                )
                                )
           vs.                  )
                                )                    ORDER
                                )
TERES G. CALDWELL               )
_______________________________ )


       THIS MATTER is before the Court upon Defendant’s Motion To Schedule Trial On

Dates Other Than July 18 Through 20 during the July criminal term in the Statesville

Division.

       On 26 June 2007, a Notice Of Hearing was docketed in the above matter for a

Change of Plea Hearing set for 10 July 2007, at 9:35AM in the Charlotte Magistrate

Courtroom before Judge Carl Horn, III. Therefore, Defendant’s motion is moot.

       IT IS, THEREFORE, ORDERED that Defendant's Motion is hereby DENIED.


                                          Signed: June 27, 2007




   Case 5:06-cr-00022-KDB-SCR       Document 401      Filed 06/27/07   Page 1 of 1
